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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

In re:
                                                                 CASE NO. 6:23-bk-04081-TPG
EVOLUTION MICRO, LLC                                             CHAPTER 11

                                                                 Subchapter V Election
         Debtor.
                                                                 Emergency Hearing Requested on or before Friday,
                                                                 October 6, 2023

_________________________________/

    EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL AND
           REQUEST FOR EMERGENCY PRELIMINARY HEARING

            EVOLUTION MICRO, LLC (“Debtor”) by and through its undersigned counsel,

    and pursuant to 11 U.S.C. §§ 363(c)(2) and 363(e), Federal Rules of Bankruptcy Procedure

    4001(b)(2) and 4001(c), and Local Rule 2081-1(g)(1), hereby moves for authority to use

    cash collateral on an interim basis and to provide adequate protection to the UNITED
                                                                                    1
    STATES SMALL BUSINESS ADMINISTRATION (“SBA”), which entity may hold a

    first-position security interest in the Debtor’s cash and/or cash equivalents, and to the extent

    necessary, the holders of inferior position security interests in the Debtor’s cash, accounts

    and cash equivalents that may be held by SECURED LENDER SOLUTIONS

    (”Secured"), DE LAGE LANDEN FINANCIAL SERVICES, INC. (“De Lage”),

    CADENCE BANK, N.A. (“Cadence”), FUNDING CIRCLE, LLC (“Funding Circle”),

    and/or WELLS FARGO BANK, N.A. (“Wells Fargo”) (collectively, the superior and

    inferior interest are referred to as the “Secured Creditors”), and requests an emergency

    hearing on the relief sought. In support of this motion, Debtor states as follows:




1
 Debtor’s inclusion or reference to any creditors in this Motion is in no way an admission that such creditor has a
properly perfected security interest in the Debtors’ property or allowed claim. Debtor specifically reserves its right to
contest the validity of any alleged claim or security interest held by a creditor in this case.
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                                 Summary of Relief Requested

       1.      Emergency Relief Requested. Debtor requests that the Court authorize the

Debtor’s use of cash collateral notwithstanding any lien of the Secured Creditors as of the

Petition Date. Debtor requests authority to use cash to fund ordinary business operations and

necessary expenses in accordance with the cash budget attached hereto as Exhibit “A”.

       2.      Notice. This motion has been served on (i) all parties consenting to electronic

service via the Court’s CM/ECF system, (ii) the Office of the United States Trustee via email (if

known), fax, and overnight mail, (iii) the 20 largest creditors, Regions via certified mail or email

(if known), via fax (if known), or via FedEx Overnight Mail. Prior to any hearing on the instant

motion, undersigned counsel for the Debtor will confer with the Office of the United States

Trustee and all available Secured Creditors regarding the relief requested herein.

       3.      Suggested Hearing Date. Debtor requests a hearing date on or before Friday,

October 6, 2023.

       4.      Supporting Argument. Debtor supports this motion as set forth below.

                                           Background

       5.      On September 29, 2023 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”) and elected to

pursue relief under the provisions of Subchapter V. Debtor continues to manage and operate its

business as a debtor-in-possession in accordance with the Bankruptcy Code.

       6.      The cash collateral Debtor seeks to use is comprised of cash on hand and funds to

be received during normal operations which may be encumbered by the Secured Creditors (the

“Cash Collateral”).

       7.      The Secured Creditors may assert a security interest in the Debtor’s cash and cash

equivalents by virtue of UCC-1 Financing Statements filed with the State of Florida.




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                                         Relief Requested

       8.      Debtor will require the use of Cash Collateral to continue to operate its business

for the next ninety (90) days, and, depending on the month, a greater or lesser amount will be

required each comparable period thereafter. Debtor will use the Cash Collateral to make payroll,

pay suppliers and vendors, and pay other ordinary course expenses to maintain its business,

which may be subject to the Secured Creditors’ security interests.

       9.      A Budget reflecting the estimated income and expenses for the Debtor’s business

over the next ninety (90) days is attached hereto as Exhibit “A”.

       10.     As adequate protection for the use of Cash Collateral, Debtor proposes to grant

the Secured Creditors a replacement lien on post-petition Cash Collateral to the same extent,

priority, and validity as their pre-petition liens, to the extent Debtor’s use of Cash Collateral

results in a decrease in value of the Secured Creditors’ interest in the Cash Collateral. As

demonstrated by the Budget, Debtor will continue to operate on a positive cash flow basis during

the interim six-week period. As such, all interests in Cash Collateral are adequately protected by

replacement liens and the proposed adequate protected is fair and reasonable and sufficient to

satisfy any diminution in value of the prepetition collateral.

       11.     In the event the Debtor is not permitted to use Cash Collateral, it may be forced to

halt operations altogether, creating an adverse effect on creditors, and will likely eliminate the

total of value of assets pledged as collateral. Thus, Debtor believes the protections outlined

herein are fair and reasonable under the circumstances and will be sufficient to protect the

interest of the Secured Creditors’ collateral from a diminution in value during the period of use

by the Debtor. Accordingly, under the circumstances of this Chapter 11 case, granting the relief

requested in the Motion is warranted.




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        12.     As of the date of this Motion, Debtor’s undersigned counsel has not conferred

with counsel for any of the Secured Creditors regarding the relief requested, but undersigned

counsel will endeavor to confer with the Secured Creditors regarding the relief requested herein.

        WHEREFORE, Debtor respectfully requests the Court: (i) set an expedited preliminary

hearing to consider this Motion on or before Friday, October 6, 2023; (ii) grant the Debtor

permission to use the Cash Collateral notwithstanding any liens on its cash or cash equivalents

on an interim basis as of the Petition Date; and (iii) approve of the form and manner of providing

adequate protection to Secured Creditors during the interim period; and (iv) grant such other and

further relief as is just and proper.

        RESPECTFULLY SUBMITTED this 2nd day of October, 2023.

                                                 /s/ Justin M. Luna
                                                 Justin M. Luna, Esq.
                                                 Florida Bar No. 0037131
                                                 Benjamin R. Taylor, Esq.
                                                 Florida Bar No. 1024101
                                                 LATHAM, LUNA, EDEN & BEAUDINE, LLP
                                                 Bknotice1@lathamluna.com
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                                                 Orlando, Florida 32801
                                                 Telephone: 407-481-5800
                                                 Facsimile: 407-481-5801
                                                 Attorneys for Debtor




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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In re:
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                                                   Subchapter V Election
         Debtor.
                                                   Emergency Hearing Requested on or before Friday,
                                                   October 6, 2023

_________________________________/

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing EMERGENCY MOTION FOR
AUTHORITY TO USE CASH COLLATERAL has been served by United States mail and/or
e-mail to: Evolution Micro LLC, 210 Springview Commerce Dr., Unit 120, Debary, Florida
32713; Secured Lender Solutions, P.O. Box 2576, Springfield, IL 62708; De Lage Landen
Financial Service, 1111 Old Eagle School Road, Wayne, PA 19087; Cadence Bank, N.A., 201
S. Spring St., Tupelo, MS 38804; Funding Circle, 707 17th Street, Suite 2200, Denver, CO
80202; Wells Fargo Bank, N.A., 420 Montgomery Street, San Francisco, CA 94104; all parties
entitled to receive electronic noticing via CM/ECF; the twenty largest unsecured creditors as
shown on the matrix attached to the original of this pleading filed with the Court; and the U.S.
Trustee, c/o Bryan E. Buenaventura, 400 W. Washington Street, Suite 1100, Orlando, Florida
32801, bryan.buenaventura@usdoj.gov; this 2nd day of October, 2023.

                                               /s/ Justin M. Luna
                                               Justin M. Luna, Esq.




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                  EXHIBIT “A”
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                                     EVOLUTION MICRO LLC

                 Cash flow forecast
     Starting cash on hand                              $   119,826.00                     Starting date




                                                            Oct 2023         Nov 2023          Dec 2023
                                                                                                                   Total
     Cash on hand (beginning of month)                  $   119,826.00   $    138,851.00   $   132,576.00



     Cash receipts

     Cash sales                                         $   125,000.00   $    150,000.00   $   250,000.00    $   1,105,000.00
     Returns and allowances                                                                                  $             -
     Collections on accounts receivable                                                                      $             -
     Interest, other income                                                                                  $             -
     Loan proceeds                                                                                           $             -
     Owner contributions                                                                                     $             -
     Other receipts                                                                                          $             -

                                  Total cash receipts   $   125,000.00   $    150,000.00   $   250,000.00    $   1,105,000.00

                                 Total cash available   $   244,826.00   $    288,851.00   $   382,576.00



     Cash paid out

     Advertising                                        $       500.00   $        500.00   $        500.00   $       3,000.00
     Commissions and fees                                                                                    $             -
     Contract labor                                                                                          $             -
     Employee benefit programs                                                                               $             -
     Insurance (other than health)                                                                           $             -
     Interest expense                                                                                        $             -
     Materials and supplies (in COGS)                   $     1,200.00   $      1,500.00   $      1,700.00   $       8,900.00
     Meals and entertainment                            $       100.00   $        100.00   $        100.00   $         600.00
     Mortgage interest                                                                                       $             -
     Office expense                                     $       200.00   $        200.00   $        200.00   $       1,200.00
     Other interest expense                                                                                  $             -
     Pension and profit-sharing plan                                                                         $             -
     Purchases for resale                               $   100,000.00   $    150,000.00   $   200,000.00    $    765,000.00
     Rent or lease                                      $     1,300.00   $      1,300.00   $      1,300.00   $       7,800.00
     Rent or lease: vehicles, equipment                 $       425.00   $        425.00   $        425.00   $       2,550.00
     Repairs and maintenance                                                                                 $             -
     Supplies (not in COGS)                                                                                  $             -
     Taxes and licenses                                                                                      $             -
     Travel                                             $        50.00   $         50.00   $         50.00   $         300.00
     Utilities                                          $       300.00   $        300.00   $        300.00   $       1,800.00
     Wages (less emp. credits)                          $     6,900.00   $      6,900.00   $      6,900.00   $     41,400.00
     Other expenses                                                                                          $             -
     Other expenses                                                                                          $             -
     Other expenses                                                                                          $             -
     Miscellaneous                                                                                           $             -

                                            Subtotal    $   110,975.00   $    161,275.00   $   211,475.00    $    832,550.00

     Loan principal payment                                                                                  $             -
     Capital purchases                                                                                       $             -
     Other startup costs                                                                                     $             -
     To reserve and/or escrow                                                                                $             -
     Owners' withdrawal                                 $     5,000.00   $      5,000.00   $      5,000.00   $     30,000.00

                                 Total cash paid out    $   105,975.00   $    156,275.00   $   206,475.00    $    862,550.00

                        Cash on hand (end of month)     $   138,851.00   $    132,576.00   $   176,101.00

     Change in Cash                                     $    19,025.00   $      (6,275.00) $     43,525.00   $    302,450.00
